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                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF MICHIGAN
                          SOUTHERN DIVISION

  LEAGUE OF WOMEN VOTERS                )
  OF MICHIGAN, et al.,                  )       Case No. 2:17-cv-14148
                                        )
                    Plaintiffs,         )       Hon. Eric L. Clay
                                        )       Hon. Denise Page Hood
                                        )       Hon. Gordon J. Quist
        v.                              )
                                        )
                                        )
  JOCELYN BENSON, in her official       )
  Capacity as Michigan                  )
  Secretary of State, et al.,           )
                                        )
                    Defendants.         )


   CONGRESSIONAL AND STATE HOUSE INTERVENORS’ NOTICE OF
                         APPEAL

        Pursuant to 28 U.S.C. § 1253, Congressional and State House Intervenors appeal

  this Court’s opinion and final judgment (ECF 268 and 269) to the United States

  Supreme Court. This Court’s opinion and final judgment were entered on Thursday

  April 25, 2019.




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  Dated: April 30, 2019

  Respectfully submitted,



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   Torchinsky PLLC

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                            CERTIFICATE OF SERVICE

        I hereby certify that the foregoing has been filed via the CMECF system which

  instantaneously sent a Notice of Electronic Filing to all counsel of record.



                                      /s/ Jason Torchinsky
                                        Jason Torchinsky




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